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UNITED STATES DISTRICT COURT
DISTRICT OF MINNESOTA
24-mj-789 (ECW)

UNITED STATES OF AMERICA Investigative — Filed Under Seal
v.
WAYNE ROBERT LUND

AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

I, Erinn Tobin, being duly sworn, do hereby state as follows:

INTRODUCTION AND AGENT BACKGROUND

i, I make this Affidavit in support of a Criminal Complaint charging the
defendant, WAYNE ROBERT LUND (YOB 1978), with violations of 26 U.S.C.
§§ 5845(a), 5845(f), 5861(d), and 5871 (unlawful possession of unregistered firearms,
namely, destructive devices), 18 U.S.C. §§ 922(g)(1) and 924(a)(8) (felon in possession
of ammunition), and 18 U.S.C. §§ 842(i)(1) and 844(a)(1) (felon in possession of
explosives) (collectively, “the SUBJECT OFFENSES’).

2. I am a Special Agent of the Federal Bureau of Investigation (“FBI”), and
I have been employed by the FBI since December of 2021. Since October of 2022, I
have been assigned to the Joint Terrorism Task Force (the “JTTF”) of the FBI’s
Minneapolis Division. In this capacity, I investigate, among other things, criminal
cases relating to domestic terrorism, such as allegations of unlawful possession of
firearms and destructive devices. In addition to my on-the-job experience, the FBI
has provided me with extensive training in domestic terrorism and the techniques

used to investigate allegations of domestic terrorism.

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3. Your Affiant and other federal and local law enforcement agents and
officers are currently conducting an ongoing criminal investigation into possible
domestic violence extremism/domestic terrorism involving unlawful possession of
ammunition, explosives, and destructive devices.1

4, The facts set forth in this Affidavit are based on my own personal
knowledge, knowledge obtained from other individuals during my participation in
this investigation, including other law enforcement officers, my review of documents
and computer records related to this investigation, communications with others who
have personal knowledge of the events and circumstances described herein, and
information gained through my training and experience. This Affidavit is intended to
show only that there is sufficient probable cause to support the charges in the
Criminal Complaint and for the requested arrest warrant and does not set forth all
of my or the government’s knowledge about this matter.

a Based on my training and experience and the totality of the facts and
circumstances set forth in this Affidavit, there is probable cause to believe that
WAYNE ROBERT LUND has committed the SUBJECT OFFENSES.

FACTS CONSTITUTING PROBABLE CAUSE

Traffic Stop and State Search Warrants

6. Shortly after 2:00 am on November 2, 2024, an Oak Park Heights Police

Officer conducted a routine traffic stop of a 2008 black Chevrolet Trailblazer, with

1 Under Title 26, Section 5845, a “destructive device” is considered a “firearm” under the National
Firearms Act, and is further defined in part as “any explosive, incendiary ...(A) bomb ... or (F)
similar device.” 26 U.S.C. § 5845(a), (f).

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Minnesota plates DMY962, (hereinafter, the VEHICLE). At the time of the stop, the
VEHICLE was headed westbound on Highway 36 from the direction of Wisconsin,
within two to three miles of the Wisconsin borderline. Upon running the VEHICLE’s
plates, the Officer learned that the VEHICLE’s registration had expired in August
2023 and that the registered owner, LUND, had a revoked driver’s license. The
Officer made contact with the driver and sole occupant, LUND, who was unable to
provide a driver’s license or proof of insurance. LUND told the Officer that he was
homeless and currently staying at the Asteria Inn in Stillwater, MN. The Officer ran
a driving-record check for LUND and it returned two prior convictions for lack of
insurance. The Officer arrested LUND for gross misdemeanor insurance violation.

7. Prior to towing the VEHICLE, Officers conducted a lawful inventory
search of LUND’s VEHICLE, and they located in the back seat several small CO2
cartridges with orange taped wicks or fuses coming out of them in a military style

pouch attached to a belt, and one approximate eight-inch PVC pipe in the rear trunk

i ft

area that had caps screwed in on both ends. The Officers

believed the items to be explosives of some kind, so they left

vi i
|
|

4 them where they were located in the VEHICLE. When asked
what the items were, LUND told Officers that they were
devices to launch his rockets, and he described various
components and concepts for propelling rockets. Police

Officers secured the VEHICLE, took photos of the CO2 cartridges and the PVC pipe

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devices, had the VEHICLE towed to an impound lot, and transported LUND to the
Washington County Jail for booking and processing.

8. Officers later contacted the Saint Paul Bomb Squad and provided them
with photos of the suspected explosives located in the VEHICLE. A Saint Paul Bomb
Squad Officer identified the CO2 cartridges from the photos as suspected “cricket”
bombs. I know, based on training and experience, that “crickets” is an informal term
used by law enforcement to describe destructive devices constructed by packing
explosive material into CO2 canisters. As set forth more fully below, the suspected
devices possessed by LUND present all the same characteristics.

9. Saint Paul Bomb Squad officers responded to the impound lot to
properly and safely handle, remove, and render safe the suspected explosive devices
from the VEHICLE, and el officers and firefighters evacuated nearby businesses
and residences in the immediate area of the impound lot. Other Officers responded
to the Asteria Inn to secure the room and evacuate the area in case there were
explosive devices in LUND’s hotel room. In the interim, police began applying for
state search warrants for the VEHICLE and LUND’s hotel room at the Asteria Inn.
LUND had told Officers that he was not certain if there were any explosive materials
in his hotel room.

10. Saint Paul Bomb Squad officers removed seven suspected CO2 cricket
bombs and the PVC pipe device from the VEHICLE. The Saint Paul Bomb Squad
later determined that the cricket bombs and the PVC pipe device contained black-

colored powder, which ignited when tested and was deemed energetic, i.e., explosive.

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(A photo of one suspected CO2 cricket bomb after it was rendered safe is depicted
below). The Bomb Squad also discovered that one end of the PVC pipe device had a
small hole drilled into it and had the possible
remnants of a fuse, which they suspected may
have been previously lit but failed to detonate
the PVC pipe device. The remains and

=; contents of the seven suspected CO2 cricket

bombs and the PVC pipe device were later
shipped to the FBI Lab in Quantico, Virginia, for forensic analysis and testing.

11. Once the VEHICLE was rendered safe by the Bomb Squad by removing
the suspected cricket bombs and the PVC pipe device, Officers executed the state
search warrant on the VEHICLE. During search of the VEHICLE, Officers
discovered the following:

a. A binder containing “American National” paperwork
b. A Gateway laptop
c. Camouflage clothing

12. The Saint Paul Bomb Squad then responded to LUND’s room at the
Asteria Inn, in Stillwater, MN. Prior to their arrival, Officers had secured the room
and conducted a protective sweep of the room. During the sweep, Officers observed
in plain view electronic devices, jumper cables, and military-style clothing.

13. During the search of LUND’s hotel room under the state-issued search

warrant, Officers discovered the following:

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a. Multiple documents related to American Nationals and the
Minnesota State Assembly (i.e., sovereign citizen movement);

b. 5 CO2 cartridges, similar to the those used for the suspected cricket
bombs that were found with inserted wicks in LUND’s VEHICLE;

c. 5 shotgun primers;

d. 18 electronic devices and media, including multiple cellphones, a
laptop, tablets, hard drives, and SD cards;

e. A three-ring binder titled “List of Pyro Chemicals and Terms,” with
several terms highlighted including, among others, detonate, flash
powder, black powder, delay fuse, and classes of explosives;

f. Alocked personal safe. The safe was x-rayed by the Saint Paul Bomb
Squad to ensure it was not explosive or booby-trapped, and it
appeared to contain multiple rounds of ammunition. Upon obtaining
an additional search warrant to search the safe, police officers
discovered a total of 804 rounds of ammunition (some of which are
depicted in photographs below):

i. 3 rifle magazines filled with 81 rounds total of high-velocity
Remington .223-caliber LC and LC 21.

ii. 4 rifle magazines filled with 116 rounds of high-velocity
Remington .223-caliber Barnaul and LC.

iii. A box with 49 rounds of Federal .22-caliber Rim Fire, 4 rounds of
Remington .22-caliber Hornet, 3 rounds of miscellaneous .22-
caliber Hornet, and 4 rounds of Remington .223-caliber LC.

iv. A box with 12 rounds of VPT 40-44, 1 round of RP .308-caliber, 3
rounds of Remington 8mm-caliber, and 1 round RA .30-caliber 18.

v. 172 rounds of Wolf high-velocity 7.62x39 caliber.”
vi. 200 rounds of Federal high-velocity .223-caliber REM LC.
vii. 138 rounds of Winchester high-velocity .223-caliber LC 21.

viii. 20 rounds of Frontier high-velocity .223-caliber REM LC.

2 I know, based on training and experience, that 7.62x39-caliber Wolf is a high-velocity rifle
ammunition commonly employed in AK-47 Russian assault rifles and Soviet semi-automatic rifles.

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g. A Minnesota ID for LUND and several traffic citations issued to
LUND while driving his VEHICLE;

h. An airsoft grenade;

i. A small quantity of white crystal substance, suspected to be
methamphetamine; and

j. A DD214 Military Form indicating LUND served in the National
Guard under a food-service job specialty.

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14. Based on my training and experience, I know that 5.56/.223 and 7.62
caliber rounds are high-velocity rifle ammunition capable of penetrating standard
body armor.

15. On November 14, 2024, Your Affiant consulted with an ATF Special
Agent trained in determining interstate nexus. ATF Special Agent Joshua Szondy
examined and counted all 804 rounds of ammunition seized from LUND’s hotel room.
Special Agent Szondy made a preliminary determination that 555 rounds of the
ammunition seized were not manufacbured in Minnesota, and therefore traveled in
or affected interstate commerce before being possessed by LUND in the District of
Minnesota.

16. On November 11, 2024, ATF SA Szondy requested a record search with
the National Firearm Registration and Transfer Record (NFRTR) for LUND. A
Firearms and Explosives Specialist with ATF’s NFA Division Government Support
Branch conducted the search and provided a report showing that LUND does not
have any destructive devices registered with the NFRTR, as is required by the
National Firearms Act under Title 26.

Presumptive testing of the devices

17. Presumptive testing conducted by Saint Paul Bomb Squad indicated
that both the suspected CO2 cricket bombs and the PVC pipe device contained
energetic material, i.e., explosive material.

18. On November 7, 2024, FBI Special Agent Bomb Technicians (SABTs)

took custody of the seven suspected CO2 cricket bombs and the PVC pipe device from

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the Saint Paul Bomb Squad. FBI SABTs also confirmed energetic material was
present in all eight items. Additionally, the seven suspected cricket bombs were
deemed to have all the characteristics of destructive devices. I know, based on my
training and experience, that when energetic material is confined in a container, such
as a CO2 cartridge, it creates an overpressure effect when ignited, causing all the
blast pressure from inside the container to be forced out3.

19. The SABTs also noted that one end of the PVC pipe device was
noticeably heavier than the other. An x-ray of the PVC pipe device revealed a dense
material in the end cap that could be similar to metal. Due to safety concerns
regarding this unidentified dense material, SABTs were required to conduct
additional render-safe operations, that resulted in reduction of the unidentified
material. After the render-safe operations, Your Affiant observed the contents of the
PVC pipe device and noted that the PVC pipe device contained a black-colored powder
and shards of a material that resembled broken glass. Given the quantity of the
energetic material remaining within the PVC pipe device, SABTs believe that it may
qualify as an incendiary device.*

20. FBISABTs coordinated shipment of all eight devices to the FBI forensic

laboratory in Quantico, Virginia, for further forensic analysis and qualification.

3 Notably, the improvised explosive devices utilized in the Boston Marathon bombing leveraged this
principle to increase the lethality of the devices; the bombers confined energetic powder in well-
confined pressure cookers to amplify the effects of the blast.

4 Your Affiant notes, however, that the NFA under Title 26 nonetheless defines a “destructive device”
to include “any... incendiary... bomb,... or... similar device,” under 26 U.S.C. § 5845(f).

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Law enforcement Mirandized interviews of LUND

21. On November 2, 2024, Oak Park Heights Police Investigator David
Wynia conducted a video- and audio-recorded custodial interview of LUND at
Washington County Jail. Your Affiant has reviewed the audio recording. LUND was
read his Miranda rights and stated that he understood his rights and agreed to speak
to Investigator Wynia. In summary, LUND provided the following information:

e The suspected CO2 cricket bomb devices found in LUND’s VEHICLE are
purportedly “rocket motors” or “rocket engines.” The PVC pipe is a “test
tube” and LUND uses the pipe to help stand the rockets he launches
upright. LUND claimed he uses the CO2 devices to propel his hobby
rockets. They are like the Estes Rockets you can purchase, except LUND’s
are bigger.

e When asked if LUND has ever heard the term “crickets” to describe the
CO2 devices that LUND is calling “engines,” LUND said he has never heard
the term cricket and asked Investigator Wynia what the term means.
LUND claimed the CO2 devices do not explode, but only “shoots flame out
the back-for velocity,” and that “we’ve been experimenting,”> but he denied
that he designed the devices to be a “destruction device.”6

e Inv. Wynia asked LUND who he is referring to when LUND says “we.”
LUND said he is talking about LUND and his friend, Known Person 1 (“KP-
1”). KP-1 lives in Houlton, WI. LUND and KP-1 make their own black
powder out of potassium and put it inside of the metal CO2 cartridges. They
purchase the wicks from firework stands. .

e When asked about the PVC pipe, LUND said that he shoots rockets out of
the tube. Inv. Wynia asked how that is possible if both ends of the PVC pipe
are capped. LUND (non-responsively) said that one of the caps is from a
second PVC pipe, which “burnt up” the last time he used it.

5 Throughout his interview, LUND would often say “we” when referring to acts or things done in
response to the questions.

6 Your Affiant notes that the SABT's findings, that the seven suspected CO2 cricket bombs met all the
characteristics of destructive devices and that they, along with the PVC pipe device, all contained
energetic material, contradicts LUND’s assertions that the CO2 canisters merely shot out flames,
because this claim is not consistent with confinement of energetic material, which will explode when
ignited, as well as his claims regarding the PVC pipe.

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e LUND learned about explosives from his time in the military. LUND stated
he served 8 years active duty from 2001-2008 as a light wheel mechanic;
LUND claimed he was detached out of 151st in Anoka and 834th Brigade
in St. Paul’.

e When asked about the binder found in LUND’s hotel room about chemicals
and explosives, LUND said he is just interested in explosives, and it is
related to his “hobby.”

e LUND used to live and work at 50 Houlton School Circle, Houlton WI, until
he was evicted by his landlord (hereinafter, LANDLORD) in February of
2024. LUND used to work for his LANDLORD’s towing business at the
same address. In February 2024, the LANDLORD evicted LUND and
supposedly got him arrested. LUND and his LANDLORD are in litigation
over the eviction and because his LANDLORD has not returned LUND’s

personal property.

e After getting evicted, LUND started working for a different towing
company in Houlton, WI. LUND parked his VEHICLE at the towing
company’s property until about a month ago, because it was having
mechanical issues. After his VEHICLE got fixed, LUND picked it up and
has had it since. The CO2 devices and the PVC pipe have been in his
VEHICLE the entire time LUND has been driving it during the last month.

e LUND had no intention of hurting anyone or anyone’s property.

e LUND does not research anything about his rockets online. LUND learns
by experimenting on his own.

e LUND last shot off the rockets about a year ago. LUND used to shoot off
the rockets using the CO2 devices in a field in Houlton, WI, which belongs
to a friend of KP-1’s. LUND does not know the name of KP-1’s friend.

e The shotgun primers found in LUND’s hotel room are used for a “trip
alarm.” The trip alarms are used for when someone tries to steal your
package, or it can be rigged to go off and alert you if an animal is trying to
come into your camp.

e LUND declared, “I’m a National.” When asked to elaborate, LUND
explained that he is an “American National,” which means he is covered
under the “law of the land” instead of the “law of the seed.” LUND explained
that all 50 states are establishing state assemblies. North Carolina has
recently established a family global bank to control American National

7 LUND’s claim is inconsistent with the DD-214 form found in LUND’s hotel room, which indicated he
served within a food-service job specialty.

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currency, called American Federate Dollars (AFD). It has taken LUND five
or six years to understand everything.®

e When asked what is in his safe at the hotel, LUND first responded that
there are just coins and some old magazines in it. Inv. Wynia asked if there
is anything else in the safe and LUND replied, “that’s about it.” Inv. Wynia
asked directly if there is any ammunition in the safe and LUND then
responded, “There’s ammunition in there.”

e When Inv. Wynia informed LUND that he is prohibited from possessing
ammunition, LUND replied, “I don’t have any guns.” Inv. Wynia then
reiterated that LUND is also prohibited from possessing ammunition as a
felon, and LUND replied, “Oh, no. there’s a little difference to that. There’s
a difference between the public and the private. I did my certificate of
assumed name, which separates me from the public and private side of
things,” and that he is not doing anything for “mischievous reasons.”?

e Inv. Wynia asked LUND if the white crystal substance in the small plastic
baggie found in his hotel room was meth. LUND replied, “It was. Yup.
Unfortunately.” When asked when he last used meth, LUND replied, “three
or four days ago.”

22. On November 5, 2024, Inv. Wynia and St. Croix County Sherriffs
Investigator Nick Krueger conducted a second recorded custodial interview of LUND
at Washington County Jail. LUND was again advised of his Miranda rights, stated
that he understood his rights, and agreed to speak with the officers. In summary,
LUND provided the following information:

e LUND built and tested the CO2 devices at 50 Houlton School Circle,
Houlton, WI;

e LUND filled the CO2 cartridges with 1 to 2 grams of combustible material;

8 Your Affiant knows, based on training and experience, that these types of assertions and claims are
commonly associated with so-called self-proclaimed sovereign citizens, who believe they are not subject
to any federal laws or jurisdiction within the United States.

9 Based on training and experience, Your Affiant interpreted this exchange as LUND saying that
because he is a sovereign citizen, or “private,” he is exempt from criminal law if he is not planning to
harm anyone.

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e LUND’s friend KP-1 was present when LUND built and tested his engines;
LUND’s friends, KP-1 and another named person, can verify what LUND
is saying;

e LUND used to live at 50 Houlton School Circle, Houlton WI, until he was
evicted by his LANDLORD in February of 2024;

e LUND used to work for the LANDLORD’s towing business out of the 50
Houlton School Circle address;

e When asked about the ammunition in his hotel room safe, LUND said he
obtained the ammunition when it was legal for him to possess it, and he
intends to sell it;

e When asked about the shotgun primers in his hotel room, LUND said they
could be used in mailboxes to ward off unwanted persons, or trip wires on
property to keep animals away or notify you of unwanted persons.

Law enforcement interviews of LANDLORD

23. On November 6, 2024, SCSO Inv. Krueger interviewed LUND’s prior
LANDLORD, over the phone. In summary, the LANDLORD provided the following
information:

e LANDLORD lives in Minnesota but owns the property at 50 Houlton School
Circle, Houlton, WI. The property includes a mechanic shop and
LANDLORD runs a towing business at this location;

e LUND used to live at 50 Houlton School Circle, Houlton, WI;
e LANDLORD evicted LUND, and they have an ongoing civil dispute;

e LUND had a large freezer chest that he used as a property storage
container; The freezer was never plugged in, and LUND kept it locked;
LUND told LANDLORD that LUND kept his personal property in the
freezer chest. LANDLORD did not recall seeing inside the freezer chest.

e When LANDLORD evicted LUND, the LANDLORD removed all of LUND’s
personal property and placed it outside of the building for LUND to collect.
LUND came and got his property, including the freezer chest.

e LANDLORD believes a neighbor helped LUND move the freezer chest from
50 Houlton School Circle to a neighbor’s property.

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e When LUND was evicted, LUND moved in with another individual, but
LANDLORD did not know that person’s last name (hereinafter “OP-1”);
After staying with OP-1 for a bit, LUND moved to KP-1’s house, and then
later moved into the hotel in Stillwater.

e On November 5, 2024, LANDLORD was at his shop at 50 Houlton School
Circle, when OP-1 approached LANDLORD and told LANDLORD that
LUND had been arrested for possessing explosive devices; OP-1 told
LANDLORD that LUND was at OP-1’s house in Wisconsin just before
LUND was arrested on November 2, 2024.

24. As part of the investigation, your Affiant has also learned, by reviewing
prior law enforcement reports, that LUND has had several law enforcement contacts
at the 50 Houlton School Circle address, and that he was arrested for alleged criminal
violations on some of those occasions.

25. For example, on February 26, 2024, St. Croix County Sheriffs Office
(SCSO) responded to a request from the LANDLORD of 50 Houlton School Circle, in
Houlton, WI, to assist with the eviction of LUND from the property. The LANDLORD
reported that LUND recently started moving property into the business office space
attached to the shed and started living there. LANDLORD reported that LUND was
told he could not live on the business property, but LUND refused to leave and told
the LANDLORD not to go into the business office. The LANDLORD told Deputies
that he observed a makeshift gun on the desk of the office and that LUND was
wearing a bulletproof vest under his camouflage jacket. SCSO Deputies attempted to
contact LUND, but he barricaded himself in the business office. SCSO Deputies set a
perimeter and LUND eventually departed the building, at which point he was taken

into custody for unlawful possession of body armor and a stun gun.

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26. On March 12, 2024, SCSO was called to standby at the 50 Houlton
School Circle address, while LUND retrieved his property post-eviction. SCSO
bodycam footage from this interaction showed LUND telling the Deputy he was there
to pick up his property, specifically a large, white freezer chest and trailer. LUND
told the Deputy that a “neighbor” was going to help him move the freezer chest onto
the neighbor’s property. Shortly after, a couple of people arrived to assist LUND. The
group moved the freezer chest onto LUND’s trailer. SCSO Inv. Krueger advised Your
Affiant that the neighbor who assisted LUND with loading of the freezer chest was
OP-1.

Execution of Federal Search Warrant of LUND’s freezer chest

27. On November 6, 2024, SCSO Deputy Krueger conducted a spot check at
OP-1’s residence. SCSO Deputy Krueger did not observe the LUND’s freezer chest at
the residence. While driving on Main Street, however, Dep. Krueger observed the
LUND’s freezer chest on a trailer at the southeast corner of KP-1’s residence in
Houlton, WI. Dep. Krueger recognized the freezer chest as the same large, white
freezer chest that LUND and OP-1 originally moved from LANDLORD’s property at
50 Houlton School Circle.

28. On November 13, 2024, Your Affiant obtained a federal search warrant
to search LUND’s freezer chest for evidence, fruits, and instrumentalities of the

SUBJECT OFFENSES. See 24-mj-780 (ECW).

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29. On November 14, 2024, Your Affiant and other federal agents and local
law enforcement officers executed the search warrant on LUND’s freezer chest. Upon
breaching the locked freezer chest, law enforcement found:

a. 1 suspected cricket bomb;
b. Approximately 117 CO2-style empty metal cartridges;

c. A 12-inch-long white PVC pipe capped on one end;

A.

Hobby fuse;

e. A bottle of stump cleaner;

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A large plastic container of dark powder labeled “charcoal”;

3 empty glass bottles

ga

h. a plastic milk jug filled halfway with a dark powder;
i. a lower receiver for a suspected Sig Sauer pellet gun.

30. On November 14, 2024, presumptive testing conducted by FBI SABTs
indicated that the suspected CO2 cricket bomb and the half-filled gallon milk-jug of
dark powder both contained energetic material, i.e., explosive material. The SABTs
noted that stump cleaner and charcoal are both
precursors to make black powder, which requires

potassium nitrate (the main ingredient in stump

remover) and charcoal. FBI SABTs noted that the

CO2-style empty cartridges, powder, and hobby fuse were all consistent with the

seven suspected cricket bombs found in LUND’s vehicle.

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31. During render safe operations, FBI SABTs confirmed that the suspected
CO2 cricket bomb consisted of an expended CO2 cartridge packed with dark powder,
a fuse, and orange tape. All of these characteristics are consistent with the seven
suspected cricket bomb devices found in LUND’s vehicle.

32. During the search, Your Affiant and SCSO Inv. Krueger interviewed the
property owner, KP-1, who in summary part told investigators the following: the
freezer chest belongs to LUND and KP-1 has no idea what is in it; LUND has always
been interested in rockets and taught KP-1 how to make sugar rockets; LUND told
KP-1 how to make “boomers” out of CO2 cartridges; KP-1 was not interested in
messing with boomers, because he was worried someone might get hurt because of
the metal cartridge; LUND was at KP-1’s place in Wisconsin the Friday evening right

before LUND got arrested until 10pm or 11pm before leaving to head back to his hotel

in Stillwater, MN.

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LUND’s Washington County Jail Calls

33. On November 8, 2024, Your Affiant reviewed jail calls made by LUND

from Washington County Jail. On the evening of November 8, 2024, LUND made two
phone calls in total, both to KP-1. During the calls, LUND discussed execution of the
state search warrant at his hotel and how law enforcement took his property.
Specifically, LUND talked about how law enforcement got into his safe and he “had
900 rounds in there.” LUND told KP-1 about his custodial interviews and how he told
law enforcement that, “I’m American National. An actual American National, not a
fucking sovereign fucking citizen, which is an oxymoron, you know?”

34, On November 8, 2024, Your Affiant reviewed photos of several
documents located in LUND’s VEHICLE at the time of his arrest. Several documents
included LUND’s signature and testament to belonging to the “Minnesota State
Assembly.” Several documents included LUND’s fingerprint and signature, inscribed
in red ink. Your Affiant is aware that red ink is an important requirement in the
sovereign citizen ideology to designate official documents. One document includes a
photo of LUND with printed status, “American State National.”

35. Open-source research of the “Minnesota State Assembly” returns a
website advertising, “Reclaim your Status as American State Nationals and
American State Citizens and help finish the Reconstruction of our Actual government
that was vacated after the civil war.”

36. Through my training and experience, I am aware that the American

State Nationals is a group which professes the ideology commonly referred to as the

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sovereign citizen movement. American Nationals often reject the label “sovereign
citizen” because they see it as an oxymoron—professing autonomy by using the word
“sovereign,” while simultaneously associating with a group by referencing “citizen.”
American Nationals believe that they can declare themselves sovereign, or private
parties, and no longer be subjected to the rules and laws of the U.S. government. This
extends to the belief that sovereign citizens or “privates” do not have to obey criminal
laws. Your Affiant is a of several cases in which individuals espousing the
sovereign citizen ideology have committed or attempted to commit domestic violent

extremism in furtherance of this anti-government ideology.

LUND ’s criminal history

37. LUND has a criminal history that includes a 20138 felony conviction for
terroristic threats, for which he was sentenced to 18 months’ imprisonment.
According to court documents, on December 15, 2013, LUND got into a dispute with
acquaintances, pointing a gun at them and threatened to kill them. LUND also has a
2004 felony DWI conviction, for which he was sentenced to 36 months’ imprisonment,
and multiple misdemeanor convictions related to traffic violations and public
nuisance.

38. LUND iscurrently in custody at Washington County Jail being charged
by criminal complaint on four state charges of prohibited person in possession of
ammunition, prohibited person in possession of an explosive or incendiary device,

fifth-degree drug possession, and uninsured vehicle owner.

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CONCLUSION

39. Based on the totality of facts and circumstances herein, and my training,
experience, and knowledge, there is probable cause to believe that LUND has
committed violations Title 26, United States Code, Section 5861(d) (unlawful
possession of unregistered firearms, namely, destructive devices); Title 18, United
States Code, Section 922(g)(1) (felon in possession of ammunition); and Title 18,
United States Code, Section 842(i)(1) (felon in possession of explosives).

Respectfully submitted,

ya

Erinn Tobit”
Special Agent
Federal Bureau of Investigation

SUBSCRIBED and SWORN before me,
by reliable electronic means via Zoom and email,

pursuant to Fed. R. Crim. P. 41(d)(8), this [5%
day of November, 2024

ETH COWAN WRIGHT
UNITED STATES MAGISTRATE JUDGE
DISTRICT OF MINNESOTA

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